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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                          :
                                                  :
           v.                                     :           Crim. No. 19-368-1, 6
                                                  :
HAMLET TANTUSHYAN et al.                          :

                                            ORDER

       Defendants Hamlet Tantushyan and Hrachya Gyulumyan (along with five others) are

charged with participating in a massive conspiracy involving, inter alia, identity theft and bank

fraud. (Indictment, Doc. No. 43.) Trial is presently set to begin on March 31, 2020. Serious

questions have arisen regarding counsel representing both Defendants. I am especially concerned

about whether Tantushyan and Gyulumyan are jointly represented and whether, in explaining their

professional relationship, their lawyers have been candid with the Court.

       Rule 44(c) obligates me to “promptly inquire about the propriety of joint representation

and . . . personally advise each defendant of the right to the effective assistance of counsel,

including separate representation. Unless there is good cause to believe that no conflict of interest

is likely to arise, [I] must take appropriate measures to protect each defendant’s right to counsel.”

Fed. R. Crim. P. 44(c). Concerned about potential joint representation of Tantushyan and

Gyulumyan, the Government moved for a judicial inquiry under the Rule to assess any potential

attorney conflict. (Doc. No. 108.) The Government noted that California lawyers George

Mgdesyan (who represents Tantushyan) and Sarkis Manukyan (who represents Gyulumyan) share

office space and a legal assistant, thus suggesting that the two might be “associated in law

practice,” and jointly representing Tantushyan and Gyulumyan. Fed. R. Crim. P. 44(c)(B). The

Government also noted that both Defendants had been represented at arraignment by local counsel

from the same law firm, and that the attorney who ostensibly represented Gyulumyan appeared in
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court on behalf of Tantushyan. (Doc. No. 108 ¶ 10.)

      The wording, typeface, and formatting of Defendants’ responses to the Government’s

Motion were virtually identical. (See Doc. Nos. 113 & 114.) Tantushyan and Gyulumyan

emphasize that “both attorneys have taken proper steps to dissociate themselves from any matters

relating to any co-defendant that the attorney is not representing to make sure no such conflict

arises.” (Gyulumyan Response, Doc. No. 114, ¶ 5; see also Tantushyan Response, Doc. No. 113,

¶ 4.) Although they share office space and an administrative assistant, they wrote that they

maintain independent practices.

        I ordered a Rule 44(c) hearing so that counsel could clarify this potentially problematic

arrangement. Mr. Manukyan, who was first admitted to practice law on June 3, 2019, has informed

the California Bar that his professional address is the “Mgdesyan Law Firm,” that his email address

is “sako@mgdesyanlaw,” and that his telephone number is that of Mr. Mgdesyan’s firm.

Counsel’s shared legal assistant has corresponded with both the Government and my Chambers

on behalf of Defendants Tantushyan and Gyulumyan.

       Unfortunately, counsel’s sworn testimony at the November 5, 2019 Rule 44(c) hearing only

raised disturbing questions.      They provided vague and contradictory descriptions of their

professional relationship.   Mr. Manukyan testified that until June 3, he “worked for Mr.

Mgdesyan” as “a clerk at his law office.” (Tr. of Nov. 5, 2019 Hr’g, at 4:14–17.) Since June 3,

he has been “in the process of splitting up.” (Id. at 5:4.) Although Maukyan and Mgdesyan wrote

that their practices are “independent,” Manukyan testified that he has only “two cases on [his]

own.” (Id. at 5:5–6.)

       Mr. Manukyan also testified that although there is no actual lease or employment

agreement, he pays Mr. Mgdesyan some $2,000 per month in cash for rent and his share of the




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legal assistant’s salary. (Id. at 8: 21–22 (Mr. Manukyan: “Just cash. I give it to [Mgdesyan] at

the end of the month.”).) Mr. Mgdesyan testified that Manukyan has never made such cash

payments. Rather, Mr. Mgdesyan assigns Mr. Manukyan to do work on Mgdesyan’s cases, and

the money Manukyan owes is “offset” by the lawyer services he provides. (Id. at 14:11–15 (Mr.

Mgdesyan: “Well, we offset most of the money, if not all, with appearances.”) Mr. Mgdesyan

referred the Gyulumyan representation to Mr. Manukyan—who, again, has been licensed to

practice law for all of five months and has never tried a federal case—“because [he] trust[s]”

Manukyan. (Id. at 12:22.)

       At first glance, it appears, at the very least, that by selecting a wholly inexperienced lawyer

to represent Gyulumyan, Mr. Mgdesyan has effectively made himself (a lawyer with considerably

more experience) counsel to both Tantushyan and Gyulumyan. “When both defendants are

represented by the same counsel, counsel may understandably be inhibited in his efforts to

demonstrate that one or the other defendant was the guilty party.” Gov’t of V.I. v. Hernandez, 476

F.2d 791, 794 (3d Cir. 1973). So, too, when associated counsel represent co-defendants. See Fed.

R. Crim. P. 44(c). It is my responsibility to determine whether a joint representation exists, and if

it does, to “apprise [Defendants] of the perils of joint representation.” Hernadez, 476 F.2d at 794.

       At present, I cannot reconcile the testimony of Messrs. Manukyan and Mgdesyan. It thus

appears that one of the two testified falsely. I admonished that if that were so, there could be

serious consequences. See, e.g., Eagan by Keith v. Jackson, 855 F. Supp. 765 791 (E.D. Pa. 1994)

(revocation of pro hac vice admission and referral to state attorney disciplinary authority was

appropriate where attorney breached duty of candor to court). In any event, it is apparent that I

should review documentation of the professional relationship between Messrs. Mgdesyan and

Manukyan before taking any further action.




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       Mr. Manukyan and Mr. Mgdesyan are hereby ORDERED to provide the following

documents and related information, going back to June 3, 2019: (1) documentation and records

of any payments made from Manukyan to Mgdesyan, including cash withdrawals from

Manukyan’s bank accounts to pay rent and salary expenses, and corresponding cash deposits into

Mgdesyan’s bank accounts; (2) any other documentation demonstrating Manukyan’s contribution

to the shared legal assistant’s salary, employer FICA contribution, medical insurance, or other

employee benefits; (3) invoices of client payments to Manukyan (and not to the Mgdesyan firm);

(4) a list of all appearances Manukyan has made on Mgdesyan’s behalf, detailing any agreed upon

“set-off” compensation to Manukyan; (5) documentation demonstrating the existence of

Manukyan’s separate client, trust, and IOLTA accounts; (6) documentation demonstrating any

income earned by Manukyan independent of the work he has done on Mgdesyan’s cases; (7)

payroll records of the Mgdesyan Law Firm; (8) documentation confirming existence of separate

electronic document systems for the Mgdesyan firm and for Manukyan; (9) screen shots of

Manukyan’s and Mgdesyan’s computer log-in to confirm they use separate computer systems, as

represented at the Rule 44(c) hearing, (see Tr. of Nov. 5, 2019 Hr’g, at 11:7–8); (11)

documentation of Manukyan’s business card and email signature; and (12) sworn declarations by

Manukyan and Mgdesyan explaining how they have complied with California Rules of

Professional Conduct 1.5.1 (regulating unassociated lawyers’ fee-sharing arrangements) and 7.5(c)

(“A lawyer shall not state or imply that the lawyer practices in or has a professional relationship

with a law firm or other organization unless that is the fact.”). These materials must be submitted

under seal; the Government will be allowed access. Should Mr. Mgdysian or Mr. Manukyan so

request, the Court will redact any privileged information and make only the redacted document

available to the Government.




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      Messrs. Manukyan and Mgdesyan shall FILE the requested documentation, independently

and under seal, by Friday, November 15, 2019, at 12:00 p.m. EST.



                                                       AND IT IS SO ORDERED.

                                                       /s/ Paul S. Diamond
                                                       ___________________
                                                       Paul S. Diamond, J.




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